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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    AGSPRING, LLC, et al.,1                               Case No. 23-bk-10699 (CTG)

              Debtors.                                    Jointly Administered


     APPLICATION PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY CODE,
      RULE 2014 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
        LOCAL RULE 2014-1 FOR AUTHORIZATION TO EMPLOY AND RETAIN
                DENTONS US LLP AS COUNSEL FOR THE DEBTORS
       AND DEBTORS IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

             The above-captioned debtors and debtors in possession (the “Debtors”) hereby seek entry

of an order, pursuant to section 327(a) of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

Rule 2014-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”) authorizing the Debtors to retain

and employ Dentons US LLP (“Dentons US” or the “Firm”) as counsel for the Debtors effective

as of the Petition Date (the “Application”). In support of the Application, the Debtors rely on (i)

the Statement Under Rule 2016 of the Federal Rules of Bankruptcy Procedure, (ii) the Declaration

of Samuel R. Maizel in Support of Application Pursuant to Section 327(a) of the Bankruptcy Code,

Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-1 for Authorization

to Employ and Retain Dentons US as Counsel for the Debtors and Debtors in Possession Effective

as of the Petition Date (the “Maizel Declaration”), and (iii) the Declaration of Kyle Sturgeon in




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
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Support of Chapter 11 Petitions (the “Sturgeon Declaration”) [Docket No. 3]. In support of this

Application, the Debtors respectfully state the following:

                                            Jurisdiction

        1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Debtors confirm their consent pursuant to Rule 9013-1(f) of the Local Rules to the entry

of a final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory bases for the relief sought herein are sections 327(a) of the

Bankruptcy Code, as well as Bankruptcy Rule 2014(a) and Local Rule 2014-1. Compensation will

be in accordance with sections 330 and 331 of the Bankruptcy Code.

                                            Background

        4.      Agspring, LLC is a Delaware limited liability company and the sole managing

member and sole interest holder of Agspring Logistics LLC, FO-ND, LLC and Agspring Idaho 1,

LLC (“Idaho 1”), each of which is a Delaware limited liability company. Agspring, LLC indirectly

owns Agspring Idaho 2 LLC (“Idaho 2”) and Agspring Idaho LLC, which also are Delaware

limited liability companies. Non-Debtor Agspring Holdco, LLC (“Holdco”) is the sole member

and managing member of Agspring.

        5.      On May 31, 2023 (the “Petition Date”), the Debtors commenced these cases by

filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors have

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continued in the possession of their property and have continued to manage their business as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No party

has requested the appointment of a trustee or examiner in these chapter 11 cases.

        6.      Additional information regarding the Debtors, their business structure and the

events leading to their chapter 11 filings is provided in the Sturgeon Declaration, which is

incorporated herein by reference.

                                         Relief Requested

        7.      By this Application, the Debtors seek to employ and retain Dentons US as their

bankruptcy counsel in these chapter 11 cases and all proceedings relating thereto. Accordingly,

the Debtors respectfully request that this Court enter an order, pursuant to section 327(a) of the

Bankruptcy Code, Bankruptcy Rule 2014 and Local Rule 2014-1, authorizing the Debtors to

employ and retain Dentons US as its bankruptcy counsel under a general retainer to perform the

legal services that will be necessary during these chapter 11 cases pursuant to the terms set forth

in the Application, the Maizel Declaration and the Sturgeon Declaration, effective as of the Petition

Date, and that certain agreement (the “Engagement Agreement”) between the Debtors and Dentons

US dated May 11, 2023.

        8.      The Debtors seek to retain Dentons US as counsel because of the Firm’s extensive

experience and knowledge in the field of debtors’ and creditors’ rights and business reorganizations

under chapter 11 of the Bankruptcy Code. In preparing for the Firm’s representation of the Debtors

in these cases, Dentons US has become familiar with the Debtors’ affairs and many of the potential

legal issues which may arise in the context of these chapter 11 cases.

        9.      The professional services that Dentons US will provide include, but shall not be

limited to:



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            a. Providing legal advice with respect to the Debtors’ powers and duties as debtors in

                possession in the continued operation of their business and management of their

                property;

            b. Advising the Debtors with respect to their powers and duties as debtors and debtors-

                in-possession in the continued management of their businesses and property;

            c. Attending meetings and negotiating with representatives of creditors and other

                parties in interest and advising and consulting on the conduct of the chapter 11

                cases, including all of the legal and administrative requirements of operating in

                chapter 11;

            d. Taking necessary action to protect and preserve the Debtors’ estates, including the

                prosecution of actions on its behalf, the defense of any actions commenced against

                the estate, negotiations concerning all litigation in which the Debtors may be

                involved and objections to claims filed against the estate;

            e. Reviewing and preparing on behalf of the Debtors all documents and agreements

                as they become necessary and desirable;

            f. Reviewing and preparing on behalf of the Debtors all motions, administrative and

                procedural applications, answers, orders, reports and papers necessary to the

                administration of the estate;

            g. Advising the Debtors in connection with distribution or disposition of assets;

            h. Negotiating and preparing on the Debtors behalf any chapter 11 plan, disclosure

                statement and all related agreements and/or documents and take any necessary

                action on behalf of the Debtors to obtain confirmation of such plan;

            i. Reviewing and objecting to claims;



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              j. Analyzing, recommending, preparing, and bringing any causes of action created

                 under the Bankruptcy Code;

              k. Appearing before this Court, any appellate courts, and the U.S. Trustee, and

                 protecting the interests of the Debtors’ estate before such courts and the U.S.

                 Trustee; and

              l. Performing all other necessary legal services and giving all other necessary legal

                 advice to the Debtors in connection with the chapter 11 cases.

        10.      Subject to this Court’s approval of the Application, Dentons US is willing to serve

as counsel to the Debtors and to perform the services described above.

        11.      Subject to Court approval in accordance with section 330(a) of the Bankruptcy

Code, compensation will be payable to Dentons US on an hourly basis, plus reimbursement of

actual, necessary expenses and other charges incurred by Dentons US. The current standard hourly

rates of Dentons US’s professionals are:

                          a.    Partners               $765.00 to $1,240.00

                          b.    Of Counsel             $690.00 to $1,205.00

                          c.    Associates             $605.00 to $725.00

                          d.    Paralegals             $345.00 to $370.00

        12.      The hourly rates set forth above are Dentons US’s restructuring group’s standard

hourly rates for work of this nature and level of experience. These rates are set at a level designed

to fairly compensate Dentons US for the work of its attorneys and paraprofessionals, to cover fixed

and routine overhead expenses, and are subject to periodic adjustments necessitated by market and

other conditions. Beyond the rates listed above, it is Dentons US’s policy to charge for all other

expenses incurred in connection with client representations. These expenses include, among other

things, conference call charges, mail and express mail charges, special or hand delivery charges,

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document retrieval charges, color photocopying charges, travel expenses, expenses for “working

meals,” computerized research, and transcription costs, as well as non-ordinary overhead expenses

such as secretarial and other overtime. Dentons US believes that it is fairer to charge these types

of expenses to the clients incurring them rather than spreading the expenses among all clients.

Dentons US will charge the Debtors for such expenses in a manner and at rates consistent with

those charged to other Dentons US clients and subject to the rules and requirements of this Court.

         13.    To the best of Debtors’ knowledge, except as otherwise disclosed in the Maizel

Declaration submitted concurrently herewith, Dentons US has not represented the Debtors, their

creditors, equity security holders, or any other parties in interest, or their respective attorneys, in

any matter relating to the Debtors or their estates. Further, to the best of the Debtors’ knowledge,

Dentons US does not hold or represent any interest adverse to the Debtors’ estate, Dentons US is

a “disinterested person” as that phrase is defined in section 101(14) of the Bankruptcy Code, and

Dentons US’s employment is necessary and in the best interests of the Debtors and their estates.

         14.    Dentons US may supplement the Maizel Declaration from time to time to disclose

any such additional material contacts or relationships with significant parties as and if they become

known.

         15.    Dentons US and certain of its partners, counsel and associates may have in the past

represented, may currently represent, and likely in the future will represent parties in interest of the

Debtors in connection with matters unrelated to the Debtors and these chapter 11 cases. While

Dentons US has undertaken, and continues to undertake, efforts to identify connections with the

Debtors and other parties in interest, it is possible that connections with some parties in interest

have not yet been identified. Should Dentons US, through its continuing efforts or as these chapter

11 cases progress, learn of any new connections of the nature described above, Dentons US will

so advise the Court.

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        16.       By separate applications, the Debtors are seeking Court approval for the retention

of: (a) Pachulski, Stang, Ziehl & Jones LLP (“Pachulski”), as bankruptcy co-counsel; and (b) Meru

LLC to provide Kyle Sturgeon as Chief Restructuring Officer and any additional needed support

personnel. The Debtors may also file motions or applications to employ additional professionals.

        17.       Each of the firms listed above works, and will continue to work, under the direction

of the Debtors’ board.        The Debtors’ directors and senior management are committed to

minimizing duplication of services to reduce professional costs. To that end, Dentons US will

work closely with these other professionals to ensure that there is no unnecessary duplication of

effort or cost.

        18.       Dentons US has received payments in the form of a retainer from the Debtors during

the year prior to the Petition Date in the amount of $358,072.06 in connection with its prepetition

representation of the Debtors. Dentons US is current as of the Petition Date but has not yet

completed a final reconciliation of its prepetition fees and expenses. Upon final reconciliation of

the amount actually expended prepetition, any balance remaining from the prepetition payments

to the Firm will be credited to the Debtors and utilized as Dentons US’s retainer to apply to

postpetition fees and expenses pursuant to the compensation procedures approved by this Court in

accordance with the Bankruptcy Code.

        19.       The Debtors understand that Dentons US hereafter intends to apply to the Court for

allowances of compensation and reimbursement of expenses in accordance with the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and orders of this Court

for all services performed and expenses incurred after the Petition Date.

        20.       The Debtors, subject to the provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Local Rules and further orders of this Court, propose to pay Dentons US its customary

hourly rates for services rendered that are in effect from time to time, as set forth above and in the

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Maizel Declaration, and to reimburse Dentons US according to its customary reimbursement

policies, and submits that such rates are reasonable.

        21.     The Debtors believe that employment of Dentons US is in the best interests of the

Debtors, their estates, and their creditors.

                                                  Notice

        22.     Notice of this Application shall be given to the following parties: (a) the Office of

the United States Trustee; (b) counsel to the Debtors’ prepetition secured lenders; (c) the Debtors’

largest unsecured creditors on a consolidated basis, and (d) any party that has requested notice

pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                           No Prior Request

        23.     No prior request for the relief sought in this Application has been made to this Court

or any other court.




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        WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto, granting the relief requested herein and granting such

other and further relief as is just and proper.



Dated: July 28, 2023                              AGSPRING, LLC, et al.


                                                  By: /s/ Kyle Sturgeon
                                                  Kyle Sturgeon
                                                  Chief Restructuring Officer




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